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DISTRICT COURT .
JEFFERSON COUNTY, COLORADO
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(303) 271-6145 CASE NUMBER; 2014030897

 

Plaintiffi SCY WEST AIRLINES, INC,

¥.

Defendant: MATTHEW GRAY “ COURT USE ONLY *

 

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COMPLAINT

 

 

 

Plaintiff, Sky West Airlines, Inc. (“Sky West” or “PlaintifP’), by and through its attorneys,
Sherman & Howard L.L.C., for its Complaint states and alleges as follows;

PARTIES AND VENUE

E Plaintiff is a Utah corporation with its principal place of business in St. George,
Utah.

2. Upon information and belief, Defendant Matthew Gray (“Gray”) is a resident of
Jefferson County, Colorado and resides, at 29731 Camelback Lane, Evergreen, Colorado 80439,

3, Upon information and belief, venue is proper in this Court because, Defendant is
a resident of Jefferson County,

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GENERAL ALLEGATIONS |

4, Sky West is a business partner and Star Alliance member of United Airlines
(“United”), SkyWest operates regional airline routes for United.

5. Under Sky West’s Travel Benefit Policy, some of Plaintiff's full-time employees
may fly for free or receive a 20% discount on airfares when they travel, They may also add an
“Enrolled Friend” to give that individual the same flight benefits, However, employees may not
add additional legs or “segments” to their flights, or upgrade their itineraries to Business Class or
First Class, without paying a fee for those changes.

6, Employees of Sky West are not permitted to use their individual employee log-in
information (“Sine”) to change their flight itineraries or the flight itineraries of their friends or
families.

Be Sky West and United have an Information Security Policy, which prohibits an
employee from using another employee’s log-in credentials.

8, SkyWest’s full-time employees receive copies of the Travel Benefit and
Information Security Policies.

9, Gray worked as a Gate Agent for Plaintiff at Denver International Airport,

10, On July 17, 2013, Gray was interviewed by an investigator for United concerning
his travel, During his interview, Gray admitted that an online acquaintance allegedly told him
that airline employees could add segments to their travel itineraries, so long as the origin and
destination points remained unchanged. Thus, Gray claimed that he could add multiple segments
to a flight itinerary without any extra cost, provided he maintained the original itinerary’s take-
off and destination points.

il. Gray told the United investigator that he consulted Sky West’s policies regarding
additional segments but found them “unclear,” He never discussed or verified his understanding
of the policies with his supervisor or other Sky West management personnel.

12, Over an eight-month period from December 2012 through July 2013, Gray
regularly booked short flights using his employee discount, He then manipulated the flight
itineraries, adding segments to the original travel plans and upgrading reservations to Business or
First Class, The additional segments were not within the legal routing permitted by airfare rules,
and resulted in charges, which Sky West ultimately had to pay to United Airlines,

13, Gray manipulated his own travel itineraries and those of two friends, Brian Reidy
(“Reidy”) and Zachary Chase (“Chase”), Gray identified Reidy as a friend and Chase as an
Enrolled Friend, with who Gray was in a relationship.

14. Gray admitted that Gate Agents could not use their own Sines to upgrade or
otherwise alter their flight reservations. Instead of using his own Sine to change travel
itineraries, Gray obtained the Sines of several co-workers: Dana Sturgeon, Leslie Green, and
Cristen Herider. He used these co-workers’ Sines to make itinerary changes,

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15. The additional segments on Gray’s altered itineraries resulted in longer mileage
for each trip. This enabled Gray to accumulate more frequent flyer miles than he otherwise
would have earned, which was his intent in manipulating the itineraries.

16. Onone occasion, Gray and Chase purchased a round-trip Economy Class ticket
from Denver, Colorado to Grand Junction, Colorado for $129. Gray upgraded the tickets to First
Class and without authorization changed the route, resulting in a trip with seven different flight
segments, Thus, Gray and Chase flew from Denver to Honolulu, Honolulu to Houston, Houston
to Denver, Denver to Seattle, Seattle to Anchorage, Anchorage to San Francisco, and San
Francisco to Denver. Neither Gray nor Chase paid any additional amounts for these added flight
segments than the initial $129 fare for the round-trip Economy Class ticket to Grand Junction,
This trip cost several thousands of dollars in lost revenue fo United, United charged Sky West for

the cost of this unauthorized trip,

17, From these altered and improper itineraries, Gray also earned numerous frequent
flyer miles and achieved United’s MileagePlus Premier 1K status. He redeemed his frequent
flyer miles to book additional flights, and he manipulated the itineraries for those travel plans, as
well. Gray’s unauthorized changes to his and his companions flight itineraries allowed him to
achieve this premier status under fraudulent an improper circumstances.

18. In total, Gray’s unauthorized and improper alterations consisted of 69 flight
reservations and added 113 additional segments to personal travel itineraries,

19, Asaresult of Gray’s unauthorized and improper alterations of flight itineraries,
Gray and his friends Reidy and Chase flew 217 segments, valued at $311,292, but they paid only
$5,121 for 104 of those segments, Gray usually upgraded these reservations to Business or First
Class, When these flights were upgraded to Business or First Class, the increased charges were
ultimately paid by Sky West to United,

20,  Gray’s actions resulted in a $306,000 loss of revenue to United, which United
charged to Sky West,

21, Gray’s actions cost Sky West approximately $306,000.
FIRST CLAIM FOR RELIEF
(Conversion)

22,  SkyWest restates and incorporates by reference the allegations contained in
paragraphs 1-21 above.

23. By adding segments to flight itineraries and upgrading his flights to Business and
First Class without Sky West’s authorization and in violation of Plaintiff's policies, Gray
knowingly exercised control of SkyWest’s property with the intent to permanently deprive
Plaintiff of the use and benefit of its property.

24, Gray acted knowingly, willfully, and with wanton disregard for Sky West’s rights.

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25,  SkyWest is entitled to recover the value of the converted property plus interest
from the time of conversion to the time of irial

26.  SkyWest is also entitled to exemplary damages because Gray’s conduct was
wiliful and with wanton disregard for Plaintiff's rights.

SECOND CLAIM FOR RELIEF
(Civil Theft, Colo, Rev. Stat. § 18-4-405)

27.  SkyWest restates and incorporates by reference the allegations contained in
paragraphs | through 26 above.

28. By adding segments to flight itineraries and upgrading flights to Business and
First Class without Plaintiffs authorization and in violation of Plaintiff's policies, Gray
knowingly exercised contro! of Sky West’s property with the intent to permanently deprive
Plaintiff of the use and benefit of its property.

29. Gray acted knowingly, willfully, and with wanton disregard for Sky West’s rights.
30,  SkyWest has suffered damages as a result of Gray’s theft, for which he is Hable.

31. Pursuant to Colo. Rev. Stat. § 18-4-405, SkyWest may recover treble damages,
costs, and reasonable attorney fees from Gray.

THIRD CLAIM FOR RELIEF
(Unjust Enrichment)

32,  SkyWest restates and incorporates by reference the allegations contained in
paragraphs | through 31 above.

33. Gray added segments to his and his friends’ travel plans and upgraded these flight
reservations to Business or First Class.

34, Gray did not pay for the additional segments or upgrades, in violation of
SkyWest’s policies and without Plaintiffs authorization.

35. By failing to pay for additional segments and upgrades, Gray received benefits at
Plaintiffs expense.

36. . The circumstances make it unjust for Gray to retain the benefit of booking
additional segments and upgrades at no cost to himself.

37. SkyWest is entitled to restitution from Gray in the amount of the enrichment Gray
received,

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FOURTH CLAIM FOR RELIEF
(Breach of Duty of Loyalty)

38,  SkyWest restates and incorporates by reference the allegations contained in
paragraphs | through 37 above.

39, While employed with SkyWest, Gray owed a duty of loyalty to act solely for the
benefit of Plaintiff in all matters connected with his employment.

40, Gray breached his duty of loyalty to Sky West by manipulating personal flight
itineraries to add segments and upgrades without paying the corresponding fares, in violation of
Sky West’s policies and without Plaintiff's authorization.

41. Gray’s breach of his duty of loyalty caused Sky West damages, for which Gray is
liable, Damages include, but are not limited to, noneconomic losses and injuries incurred or that
will probably be incurred in the future, economic losses incurred or that will probably be
incurred in the future, loss of assets caused by Gray’s breach, and lost profits that Sky West
reasonably expected to earn had Gray’s duty of loyalty not been breached.

42, Gray is required to disgorge al! compensation he received from Sky West for his
services as an employee during the period of his breach, and all such compensation must be
returned to Plaintiff.

FIFTH CLAIM FOR RELIEF
(Civil Conspiracy)

43, SkyWest restates and incorporates by reference the allegations contained in
paragraphs | through 42 above.

44, Gray conspired with his co-workers for the purpose of obtaining their Sines and
manipulating his travel itineraries to add segments or upgrades without paying for them, in
violation of Sky West’s policies and without Plaintiff's authorization.

45, Gray obtained his co-workers’ Sines and manipulated his travel itineraries by
engaging in the unlawful overt acts described above.

46, Gray acted willfully and with wanton disregard for SkyWest’s rights,

47. Sky West has suffered damages due to Gray’s conduct, and Plaintiff is entitled to
recover from Gray its actual damages and exemplary damages,

SIXTH CLAIM FOR RELIEF
(False Representation)
48,  SkyWest restates and incorporates by reference the allegations contained in

paragraphs | through 47 above.

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49. By using the Sines of his co-workers to access and manipulate his travel
itineraries, Gray made a false representation of his identity,

50. Gray’s identity is material.

5]. When Gray used the Sines of his co-workers to access and manipulate his travel
itineraries, he knew that the representation of his identity was false.

52, Gray misrepresented his identity with the intent that Sky West would rely on the
misrepresentation, which would enable him to book additional flight segments and upgrades
without paying the corresponding fees.

53.  SkyWest justifiably relied on Gray’s identity misrepresentation because a
Sky West employee is not permitted to use a co-worker’s Sine,

54, SkyWest’s reliance on the misrepresentation of Gray’s identity caused Sky West
over $300,000 in damages.

SEVENTH CLAIM FOR RELIEF
(Computer Fraud, 18 U.S.C. § 1030)

55, | SkyWest restates and incorporates by reference the allegations contained in
paragraphs | through 54 above,

56. Gray knowingly accessed a protected computer without authorization by using his
co-workers’ Sines to log in to SkyWest’s computer system and manipulate his travel itineraries.

57, Gray accessed the protected computer with the intent to defraud Sky West by
paying low fares for a short flight and proceeding to add multiple segments and upgrades to his
itineraries without paying the corresponding fares. The use of his co-workers’ Sines permitted
him to make these unauthorized flight alterations continuously over an eight-month period.

58. By using his co-workers’ Sines to obtain unauthorized access to the ticketing and
reservation computer system, to improperly alter his and his companions flight itineraries, Gray
obtained 113 additional segments to his flight itineraries, valued at over $300,000.

59. Within an eight-month period, Gray’s unauthorized use of a protected computer
resulted in a cost of over $300,000 to Sky West.

LIGHTH CLAIM FOR RELIEF
(Computer Fraud, Colo. Rey. Stat. § 18-5.5-102)

60. SkyWest restates and incorporates by reference the allegations contained in
paragraphs [| through 59 above,

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61. Gray knowingly accessed a computer, computer network, or computer system
without authorization when he used his co-workers’ Sines to access and change his flight
itineraries.

62. By using his co-workers’ Sines, Gray accessed a computer, computer network, or
computer system for the purpose of manipulating his travel itineraries to add flight segments and
upgrades without paying a corresponding fare for those changes. In this manner, he obtained
over $300,000 in flights and upgrades without paying additional fees.

WHEREFORE, Sky West prays for the following relief:

(a) Judgment in favor of Plaintiff and against Gray on each of the claims for relief
listed above, with damages awarded in an amount to be determined at trial, plus interest, costs,

and attorneys’ fees;
(b) An award of exemplary and punitive damages;
{c} An award of pre-judgment and post-judgment interest;
(d) Such other and further relief as this Court deems just and proper.

DATED this 5" day of May, 2014,
SHERMAN & HOWARD L.L.C,

sf Vance O. Knapp

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Tanya Sevy, #46282

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